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                UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF MARYLAND

SALLYE M. PURYEAR           *
1129 Horne Avenue           *
Portsmouth, Virginia 23701  *
                            *
       Plaintiff,           *
                            *
v.                          * Civil Case No: 10-CV-02162-AW
                            *
MICHAEL HAGER/JOHN BERRY *
UNITED STATES OFFICE OF     *
   PERSONNEL MANAGEMENT *
Office of the Director      *
1900 “E” Street, N.W., 5A09 *
Washington, D.C. 20415      *
                            *
       Defendant.           *
**********************************************

              PLAINTIFF’S REPLY TO DEFENDANT’S
       “MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION
       FOR SUMMARY JUDGMENT AND IN REPLY IN SUPPORT OF
                     MOTION TO DISMISS”

       Ms. Sallye M. Puryear, Plaintiff, by and through her counsel, Rev. Rickey

Nelson Jones, replies to Defendant’s memorandum in opposition to Plaintiff’s cross

motion for summary judgment as follows:

A.     Claims In Defendant’s Part I

       Because Defendant [i] submits a Declaration/Affidavit from someone other

than the author of the May 22, 2007 Social Security Administration Letter and [ii] the

declarant claims Plaintiff’s counsel sent SSA a letter which “referenced the Office of

Personnel Management (OPM) in some related way such as OPM being the former




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employer or the paying party in a lawsuit….” without providing such letter, the

entire argument of Defendant collapses. Plaintiff’s counsel did not directly,

indirectly, or otherwise refer to OPM as Plaintiff’s employer in any letter ever written,

hence such was not nor could be produced by Defendant. For lack of a more effective

way to relate what Defendant has done, a false declaration has been submitted to the

court. Whether Defendant obtained Mr. Joseph J. Olenski’s false declaration

intentionally or unintentionally is not Plaintiff’s concern at this moment.1 Critical is

the fact that Defendant has obtained the declaration from [a] someone other than

Joseph M. Karabinos (SSA District Manager responsible for the 5/22/07 letter), [b]

someone unknown to Plaintiff and her counsel despite much communication from

them with SSA, and [c] someone who seemingly lacks knowledge of this matter.

Therefore, Defendant’s claims about Plaintiff misconstruing or misunderstanding a

simple, clear, letter from SSA is without merit.

B.        Claims In Defendant’s Part II

          Defendant seems to “rest” on OPM being responsible for processing civil

service retirement benefits, not earnings data. However, 5 U.S.C. Sec. 8401 et seq.,

does not distinguish between “retirement benefits information” and “retirement

earnings information” in defining OPM’s obligation to retirees. Further, on page 3,

Defendant states “OPM simply maintains the records that the employing federal


1	  However,	  Plaintiff	  does	  believe	  such	  submissions,	  without	  assuring	  their	  truthfulness,	  	  

violates	  an	  attorney’s	  obligation	  of	  honesty	  before	  the	  court.	  
	  




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agencies provide to it for this purpose.” Does that mean if the agency provides

earnings data, OPM is then in the position to provide the information Plaintiff seeks?

If, as Defendant clearly concedes, OPM can receive retirement information an agency

provides, surely OPM can request earnings information to assist a federal retiree in

satisfying SSA. To wit, in absence of a direct Title 5 prohibition, OPM can obtain

needed information for a federal retiree and Defendant’s great effort to “dissect” some

difference between “retirement benefit information” and “retirement earnings

information” is without legal justification. Plaintiff’s review of Title 5 shows no

prohibition against OPM providing the information SSA seeks for Plaintiff. If there is

a prohibition overlooked by Plaintiff, since Plaintiff has filed a cross motion for

summary judgment, Defendant must produce the prohibition to escape summary

judgment, and such escape requires more than conclusory statements like “[1]

Plaintiff has failed to identify a single statute requiring OPM to maintain earnings

information. [2] Plaintiff cannot establish an entitlement to a writ of mandamus.”

       Plaintiff has provided Title 5’s charge to OPM concerning federal retirees.

Title 5 is sweeping, covering nearly all areas of federal retirees’ pension, benefits, and

earnings. There is not one word, based on Plaintiff’s review, forbidding OPM from

providing the information SSA seeks. Nor is there one word stopping OPM from

obtaining retirement information to satisfy the benefit needs of a retiree. Indeed,

Defendant seems to have expended more effort writing a legal memorandum, without

Title 5 support, to NOT provide a federal retiree with her own earnings information as




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called for by SSA than would have been necessary to simply provide the information

requested.

      WHEREFORE, Plaintiff respectfully requests that [1] Defendant’s motion to

dismiss be Denied and [2] Plaintiff’s cross motion for summary judgment be Granted.


                                              Respectfully submitted,

                                                      /s/
                                              Rev. Rickey Nelson Jones
                                              Law Offices of Reverend Rickey
                                                     Nelson Jones, Esquire
                                               rd
                                              3 Floor – Suite 5
                                              1701 Madison Avenue
                                              Baltimore, Maryland 21217
                                              410-462-5800
                                              Bar #: 12088

                                              Attorney for Plaintiff




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